
665 S.E.2d 738 (2008)
Josephine BURRELL
v.
SPARKKLES RECONSTRUCTION COMPANY, Bridgewater Group, Inc., and Piedmont Mutual Insurance Company.
No. 159P08.
Supreme Court of North Carolina.
August 26, 2008.
Daniel K. Bryson, Scott C. Harris, Raleigh, for Burrell.
Steven B. Epstein, Edward Avery Wyatt, Raleigh, for Reconstruction Co., et al.
Prior report: ___ N.C.App. ___, 657 S.E.2d 712.

ORDER
Upon consideration of the petition filed on the 7th day of April 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 26th day of August 2008."
